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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  AT ASHLAND

CRIMINAL CASE NO. 10-2-DLB-EBA

UNITED STATES OF AMERICA                                                      PLAINTIFF


vs.                                           ORDER


LARRY MEEK                                                                  DEFENDANT

                              *    *      *     *     *   *   *

      This matter is before the Court upon the Report and Recommendation (R&R) of the

United States Magistrate Judge wherein he recommends that the Court revoke Defendant’s

supervised release and impose a sentence of six (6) months imprisonment, with completion

of his unexpired term of supervised release to follow (Doc. # 239). During the final

revocation hearing conducted by Magistrate Judge Atkins on July 21, 2011, Defendant

admitted to violating several conditions of his supervised release.

      Defendant having waived his right to allocution during the final revocation hearing

(Doc. # 238), there being no objections filed to the Magistrate Judge’s R&R, and the time

to do so having now expired, the R&R is ripe for the Court’s consideration. Having

reviewed the R&R, and the Court concluding that the R&R is sound in all respects,

including the recommended sentence and the basis for said recommendation, and the

Court being otherwise sufficiently advised,

      IT IS ORDERED as follows:

      1.     The Report and Recommendation (Doc. # 239) is hereby ADOPTED as the

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                 findings of fact and conclusions of law of the Court;

        2.       Defendant is found to have VIOLATED the terms of his supervised release;

        3.       Defendant’s supervised release is hereby REVOKED;

        4.       Defendant is sentenced to the CUSTODY of the Attorney General for a

                 period of six (6) months. Following release from incarceration, Defendant

                 shall be placed on an additional term of supervised release of one (1)

                 year;

        5.       Violations # 3 and # 4 are hereby DISMISSED; and

        6.       A Judgment shall be entered concurrently herewith.

        This 15th day of August, 2011.




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